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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
DECEMBER 1, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


DOROTHY NAIRNE, et al
                                                                      CIVIL ACTION
versus
                                                                      22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana, et al.


         This matter came on this day for continuation of the Bench Trial.

         PRESENT: Megan C. Keenan, Esq.
                  Victoria Wenger, Esq.
                  Sarah E. Brannon, Esq.
                  Stuart C. Naifeh, Esq.
                  Josephine M. Bahn, Esq.
                  Robert S. Clark, Esq.
                  Tiffany Alora Thomas, Esq.
                  Amanda Giglio, Esq.
                  John N. Adcock, Esq.
                  Sara Rohani, Esq.
                  Dayton Campbell-Harris, Esq.
                  Garrett Muscatel, Esq.
                  Counsel for Plaintiffs

                      Phillip J. Strach, Esq.
                      John Carroll Walsh, Esq.
                      John Clifton Conine, Jr., Esq.
                      Thomas A. Farr, Esq.
                      Cassie Holt, Esq.
                      Alyssa Riggins, Esq.
                      Counsel for R. Kyle Ardoin

                      Robert J. Tucker, Esq.
                      Michael W. Mengis, Esq.
                      Katherine L. McKnight, Esq.
                      Patrick T. Lewis, Esq.
                      Counsel for Intervenor Schexnayder and Cortez
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          Sean Trende resumes his testimony.

          Dr. Douglas Johnson, is sworn, tendered, accepted as an expert in political science

redistricting, political geography and maptitude software, and testifies. Exhibits filed.

          Counsel for Intervenor moved to reconsider the Motion in Limine1 as it pertains to

Dr.     Douglas      Johnson.   Parties   present   argument.     The   Court   denied      the

motion. Intervenor-51 and Intervenor-58 are admitted in the record with redactions that

reflect the court's ruling on the Motion in Limine. Counsel will be permitted to submit new

records in JERS for proffer.

          Dr. Michael Barber, is sworn, tendered, accepted as an expert in political science,

American politics, voting behavior and patterns, and simulated maps, and testifies.

Exhibits filed.

          Court recesses until Monday, December 4, 2023, at 9:00 a.m.

                                          * * * * *

Teri Norton/Reporter
C: CV 6; T 5.5 hrs.




1
    Rec. Doc. 156.
